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MELISSA HUNT,
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_VS-
SYNCHRONY BANK and
GENPACT LLC ,
Defendant.
/
COMPLAINT
1. Plaintiff alleges violation of the Telephone Consumer Protection Act, 47

U.S.C. §227 et seq. (“TCPA”) and the Florida Consurner Collection Practices Act, Fla. Stat.
§559.55 et seq. (“FCCPA”), and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq.
(“FDCPA”).
INTRODUCTION

2. The TCPA was enacted to prevent companies like SYNCHRONY BANK
(“Synchrony”) and GENPAC'I`, LLC, (“Genpact”) from invading American citizens’ privacy and
prevent abusive “robo-calls.”

3. “The TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs. LLC, -US--, 132 S.Ct.

 

740, 745, 181 L.Ed.2d 881 (2012).
4. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256
scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at

night; they force the sick and elderly out of bed; they bound us until we want to rip the telephone

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out of the Wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give
telephone subscribers another option: telling the autodialers to simply stop calling.” Osario v.
Sm¢e Farm Bank, F.S.B., 746 F. 3d 1242 (11th cir. 2014).

5. “No one can deny the legitimacy of the state’s goal: Preventing the phone (at
home or in one’s pocket) from frequently ringing with unwanted calls. Every call uses some of
the phone owner’s time and mental energy, both of which are precious. Most members of the
public want to limit calls, especially cellphone calls, to family and acquaintances, and to get their
political information (not to mention their advertisements) [*6] in other ways.” Patrz'otic
Veterans v. Zoeller, No. 16-2059, 2017 U.S. App. LEXIS 47, at *5-6 (7th Cir. Jan 3, 2017).

6. According to the Federal Communications Commission (FCC), “Unwanted
calls and texts are the number one complaint to the FCC. There are thousands of complaints to
the FCC every month on both telemarketing and robocalls. The FCC received more than 215,000
TCPA complaints in 2014.“ https://www.fcc.gov/document/fact-sheet-consumer-protection-
proposal.

JURISDICTION AND VENUE

7. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations
of the TCPA.

8. Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

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Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,
746 F.3d 1242, 1249 (11th Cir. 2014). l

9. The alleged violations described herein occurred in Volusia County, Florida.
Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.
FACTUAL ALLEGATIONS
10. Plaintiff is a natural person, and citizen of the State of Florida, residing in
Deland, Volusia County, Florida.
11. Plaintiff is an “alleged debtor.”
12. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F.

3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).
13. Plaintiff is a “consumer” as defined in Florida Statute §559.55(8).
14. Defendant, SYNCHRONY, is a corporation and national association with its
principal place of business located at 170 West Election Road, Draper, UT, 84020, and which

conducts business in the State of Florida.

15. Defendant, SYNCHRONY, is a “creditor” as defined by Florida Statute
559.55(5).
16. Defendant, SYNCHRONY, consents of and has knowledge and control of the

collection activities of their agents and representatives, including supervisors, managers,
aftiliates, subsidiaries, divisions, employees, servants, partners, agents, vendors, assignees,

transferees, collectors and/or contractors; including, but not limited to Defendant, GENPACT.

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17. Defendant, GENPACT, is a corporation with its principal place of business at
42 Old Ridgebury Road, 1st Floor, Danbury, CT 06810, and which conducts business in the State
of Florida through its registered agent, National Corporate Research, Ltd., Inc., located at 115
North Calhoun St., Ste 4, Tallahassee, FL 32301.

18. Defendant, GENPACT, is a “debt collector” as defined by Florida Statute
§559.55(6) and 15 U.S.C §1692(a)(6).

19. Defendants SYNCHRONY and GENPACT sought to collect a debt from
Plaintiff that arose from a transaction incurred for personal, family or household purposes and
therefore is a “consumer debt.” as defined by Florida Statute §559.55(6), and 15 U.S.C.
§1692(a)(4).

20. Plaintiff is the regular user and carrier of the cellular telephone number at
issue, (386) *** - 0977, and was the called party and recipient of Defendants’ SYNCHRONY
and GENPACT’s hereafter described calls.

21. Defendants SYNCHRONY and GENPACT intentionally harassed and abused
Plaintiff on numerous occasions by calling several times during one day, and on back to back
days, with such frequency as can reasonably be expected to harass.

22. Upon information and belief, some or all of the calls that Defendant,
SYNCHRONY, made to Plaintiff’s cellular telephone number were made using an “automatic
telephone dialing system” which has the capacity to store or produce telephone numbers to be
called, using a random or sequential number generator (including but not limited to a predictive
dialer) or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that she knew it was an autodialer

because of the vast number of calls she received, and because she would hear a pre-recorded

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message stating the call was from Synchrony bank, and to please hold the line for the next
available representative

23. Additionally, Defendant, SYNCHRONY, left numerous artificial and/or
prerecorded messages when calling the Plaintiff"s cellular phone.

24. Upon information and belief, some or all of the calls the Defendant,
GENPACT, made to Plaintiff's cellular telephone number were made using an “automatic
telephone dialing system” which has the capacity to store or produce telephone numbers to be
called, using a random or sequential number generator (including but not limited to a predictive
dialer) or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that she knew it was an autodialer
because of the vast number of calls she received and because there was an extended pause before
a live agent came on the line.

25. In or about September of 2016, Defendant SYNCHRONY initiated its
campaign of automated phone calls to the Plaintiff on her aforementioned cellular telephone in
an attempt to collect an alleged debt.

26. Upon receipt of the calls from SYNCHRONY, Plaintiff’s caller ID identified
that the calls were being initiated from, but not limited to, the following phone number: (877)
822-2014, and when that number is called, a pre-recorded message answers “this entire call will
be recorded and monitored Thank you for calling TJX Rewards credit card, para continuar en
Espaflol, presione cinco. Making a payment is free using your checking account in this
automated system. Please say or enter your account or card number.”

27. In or about November of 2016, Plaintiff received a call from the Defendant,

SYNCHRONY, met with an automated message eventually was connected to a live

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representative, and informed that agent/representative of Defendant that she was aware she owed
money, and to mail her any future correspondence to the address on file, and demanded that the
Defendant cease placing calls to her aforementioned cellular telephone number.

28. During the aforementioned phone conversation in or about November of 2016
with Defendant, SYNCHRONY’S, agent/representative, Plaintiff unequivocally revoked any
express consent Defendant, SYNCHRONY, may have had for placement of telephone calls to
Plaintiff’ s aforementioned cellular telephone number by the use of an automatic telephone
dialing system or a pre-recorded or artificial Voice.

29. Each subsequent call the Defendant, SYNCHRONY, made to the Plaintiff’s
aforementioned cellular telephone number was done so without the “express consent” of the
Plaintiff.

30. Each subsequent call the Defendant, SYNCHRONY, made to the Plaintiff’s
aforementioned cellular telephone number Was knowing and willful.

31. Furthermore, each call subsequently made by Defendant, GENPACT, made to
the Plaintiff`s cell phone was done so without the express consent of the Plaintiff.

32. Additionally, on or about December 15, 2016, due to the continued automated
calls to her aforementioned cellular telephone number from the Defendant, SYNCHRONY,
Plaintiff again received a call from Defendant, met with an automated message, was eventually
connected to a live agent/representative of Defendant, and demanded that Defendant cease
placing calls to her aforementioned cellular telephone number.

33. The Plaintiff’s conversation with Defendant, SYNCHRONY, demanding an

end to the harassment was ignored.

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34. Despite actual knowledge of their wrongdoing, the Defendant,
SYNCHRONY, continued the campaign of abuse, calling the Plaintiff despite not having her
express consent to call his aforementioned cellular telephone number.

35. From about November 2016 through the filing of this Complaint, Defendant
SYNCHRONY made approximately one-hundred (100) calls to Plaintiff’s aforementioned
cellular telephone number, or as will be established after a thorough review of Defendant
SYNCHRONY’s records.

36. Furthermore Defendant SYNCHRONY continued to leave voice messages
using a pre-recorded or artificial voice message when calling the Plaintiff, despite
acknowledging they did not have his express consent to do so.

37. Additionally, in or about November of 2016, Defendant GENPACT initiated
its campaign of automated phone calls to the Plaintiff on her aforementioned cellular telephone
in an attempt to collect an alleged debt. Upon receipt of the calls, Plaintiff s caller ID identified
that the calls were being initiated from, but not limited to, the following phone number: (866)
259-9660.

38. Frorn about November of 2016 through the filing of this Complaint,
Defendant GENPACT made approximately two-hundred (200) calls to Plaintiff s
aforementioned cellular telephone number. (Please see attached Exhibit “A” representing a non-
exclusive call log of one-hundred seventeen (117) calls received from November 7, 2016 through
January 4, 2017.)

39. On at least two (2) separate occasions, Plaintiff has either answered a call
from Defendant, SYNCHRONY, or returned a call to Defendant, SYNCHRONY, regarding her

account, held the line to be connected to a live representative, and demanded that Defendant,

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SYNCHRONY, cease placing calls to her aforementioned cellular telephone number. Her
principal reason for answering these calls and making these demands of SYNCHRONY was the
cumulative injury and annoyance she suffered from the calls placed by Defendants,
SYNCHRONY and GENPACT. These injuries are further described in paragraphs 41 through
47 herein.

40. Defendants SYNCHRONY and GENPACT willfully or knowingly violated
the TCPA with respect to the Plaintiff.

41. From each and every call placed without express consent by Defendants
SYNCHRONY and GENPACT to Plaintiff’s cell phone, Plaintiff suffered the injury of invasion
of privacy and the intrusion upon her right of seclusion.

42. From each and every call without express consent placed by Defendants
SYNCHRONY and GENPACT to Plaintiff’s cell phone, Plaintiff suffered the injury of the
occupation of her cellular telephone line and cellular phone by unwelcome calls, making the
phone unavailable for legitimate callers or outgoing calls while the phone was ringing from
Defendants call.

43. From each and every call placed without express consent by Defendants
SYNCHRONY and GENPACT to Plaintiff’s cell phone, Plaintiff suffered the injury of
unnecessary expenditure of her time. Plaintiff had to waste time to deal with missed call
notifications and call logs that reflect the unwanted calls. This also impaired the usefulness of
these features of Plaintiff’s cellular phone, which are designed to inform the user of important
missed communications

44. Each and every call placed without express consent by Defendants

SYNCHRONY and GENPACT to Plaintiff’s cell phone was an injury in the form of a nuisance

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and annoyance to the Plaintiff. For calls that were answered, Plaintiff had to go to the
unnecessary trouble of answering them. Even for unanswered calls, Plaintiff had to deal with
missed call notifications and call logs that reflected the unwanted calls. This also impaired the
usefulness of` these features of Plaintiff’s cellular phone, which are designed to inform the user of`
important missed communications

45. Each and every call placed Without express consent by Defendants

SYNCHRONY and GENPACT to Plaintiff"s cell phone resulted in the injury of unnecessary
expenditure of Plaintiff’s cell phone’s battery power.

46. Each and every call placed without express consent by Defendants
SYNCHRONY and GENPACT to Plaintiff’ s cell phone resulted in the injury of a trespass to
Plaintiff’s chattel, namely her cellular phone and her cellular phone services.

47. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affect in a personal and individualized way by stress, embarrassment,
and aggravation

48. Defendants’ SYNCHRONY and GENPACT’s corporate policy and
procedures are structured as to continue to call individuals like the Plaintiff, despite these
individuals revoking any consent the Defendant’s SYNCHRONY and GENPACT may have
believed they had.

49. Defendants’ SYNCHRONY and GENPACT’s corporate policy and

procedures provided no means for the Plaintiff to have her aforementioned cellular number

removed from the call list.

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50. Defendants SYNCHRONY and GENPACT have a corporate policy of using
an automatic telephone dialing system or a prerecorded or artificial voice message to collect
debts from individuals such as Plaintiff for its financial benefit.

51. Defendant, SYNCHRONY, has numerous other federal lawsuits pending
against them alleging similar violations as stated in this Complaint.

52. Defendant, SYNCHRONY, has numerous complaints against it across the
country asserting that its automatic telephone dialing system continues to call despite being
requested to stop.

53. Defendants, SYNCHRONY and GENPACT willfully and/or knowingly

violated the TCPA with respect to the Plaintiff,

COUNT I
SYNCHRONY BANK
(Violation of the TCPA)
54. Plaintiff realleges and incorporates paragraphs one (1) through fifty-three (53)
above as if fully set forth herein.
55. Defendant, SYNCHRONY, willfully violated the TCPA with respect to

Plaintiff, specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after
Plaintiff notified Defendant that Plaintiff did not wish to receive any telephone communication
from Defendant, and demanded for the calls to stop.

56. Defendant, SYNCHRONY, repeatedly placed non-emergency telephone calls
to Plaintiff’ s cellular telephone using an automatic telephone dialing system or prerecorded or
artificial voice without Plaintiff’ s prior express consent in violation of federal law, including 47

U.s.c § 227(b)(1)(A)(iii).

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WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant, SYNCHRONY BANK, for statutory damages, treble damages,

punitive damages, actual damages and any other such relief the court may deem just and proper.

COUNT II
SYNCHRONY BANK
(Violation of the FCCPA)
57. Plaintiff realleges and incorporates paragraphs one (1) through fifty-three (53)
above as if fully set forth herein.
58. At all times relevant to this action Defendant, SYNCHRONY, is subject to

and must abide by the law of Florida, including Florida Statute § 559.72.

59. Defendant, SYNCHRONY, has violated Florida Statute §559.72(7) by
willfully communicating with the debtor or any member of her or his family with such frequency
as can reasonably be expected to harass the debtor or her or his family.

60. Defendant, SYNCHRONY, has violated Florida Statute §559.72(7) by
willfully engaging in conduct which can reasonably be expected to abuse or harass the debtor or
any member of his/her or his family.

61. Defendant, SYNCHRONY’s, actions have directly and proximately resulted
in Plaintiff’s prior and continuous sustaining of damages as described by Florida Statute
§559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant, SYNCHRONY BANK, for statutory damages, punitive damages,
actual damages, costs, interest, attorney fees, enjoinder from further violations of these parts and

any other such relief the court may deem just and proper.

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MI_I
GENPACT, LLC
(Violation of the TCPA)

62. Plaintiff realleges and incorporates paragraphs one (1) through fifty-three (53)
above as if fully set forth herein

63. Defendant, GENPACT, caused placement of non-emergency telephone calls to
Plaintiff’s cellular telephone using an automatic telephone dialing system or prerecorded or
artificial voice without Plaintiffs prior express consent in violation of federal law, including 47
U.S.C § 227(b)(1)(A)(iii).

64. Defendant, GENPACT, willfully and knowingly caused placement of non-
emergency telephone calls to Plaintiff’s cellular telephone using an automatic telephone dialing
system or prerecorded or artificial voice without Plaintiff’s prior express consent in violation of
federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant GENPACT, LLC for statutory damages, punitive damages, actual
damages, treble damages, costs, interest, enjoinder from further violations of these parts and any
other such relief the court may deem just and proper.

COUNT IV
GENPACT, LLC
(Violation of the FCCPA)

65. Plaintiff realleges and incorporates paragraphs one (1) through fifty-three (53)

above as if fully set forth herein.

66. At all times relevant to this action Defendant GENPACT is subject to and must

abide by the law of Florida, including Florida Statute § 559.72.

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67. Defendant, GENPACT, has violated Florida Statute §559.72(7) by willfully
communicating with the debtor or any member of her or his family with such frequency as can
reasonably be expected to harass the debtor or her or his family.

68. Defendant, GENPACT, has violated Florida Statute §559.72(7) by willfully
engaging in conduct which can reasonably be expected to abuse or harass the debtor or any
member of her or his family.

69. Defendant, GENPACT’s, actions have directly and proximately resulted in
Plaintiff s prior and continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant GENPACT, LLC for statutory damages, punitive damages, actual
damages, costs, interest, attorney fees, enjoinder from further violations of these parts and any
other such relief the court may deem just and proper.

COUNT V
GENPACT, LLC
(Violation of the FDCPA)

70. Plaintiff realleges and incorporates paragraphs one (1) through fifty-three (53)
above as if fully set forth herein.

71. Defendant, GENPACT, has violated 15 U.S.C. §1692(d) by willfully engaging in
conduct the natural consequence of Which is to harass, oppress, or abuse any person in
connection with the collection of a debt.

72. Defendant, GENPACT, has violated 15 U.S.C. §1692(d)(5) by causing a
telephone to ring or engaging any person in telephone conversation repeatedly or continuously

with intent to annoy, abuse, or harass any person at the called number.

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73. Defendant, GENPACT, has violated 15 U.S.C. §1692(€)(2)(a) by attempting to
collect on a debt from the plaintiff which Plaintiff does not owe.

74. Defendant, GENPACT, has violated 15 U.S.C. §1692(f) by using unfair an
unconscionable means to collect or attempt to collect any debt.

75. Defendant, GENPACT, has violated 15 U.S.C. §1692(g)(b) by failing to cease
collection activity until debt collector obtains verification of the debt and such verification is
mailed to the consumer by the debt collector.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant GENPACT, LLC for statutory damages, punitive damages, actual
damages, costs, interest, attorney fees, enjoinder from further violations of these parts and any

other such relief the court may deem just and proper

Respectfully Submitted,

s/Shaughn C. Hill

Shaughn C. I-Iill, Esquire
Florida Bar No.: 105998
Morgan & Morgan, Tampa, P.A.
201 N. Franklin Street, 7th Floor
Tampa, FL 33602

Tele: (813) 223-5505
Shill@ForThePeople.com
JSherwood@ForThePeople.com
Attorney for Plaintiff

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